              Case 2:19-cv-00239-GMS Document 45 Filed 07/13/20 Page 1 of 6



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13                       IN THE UNITED STATES DISTRICT COURT
14
                                      DISTRICT OF ARIZONA
15

16   Ronald H. Pratte,                               Case No.: 2:19-cv-00239-PHX-GMS

17                 Plaintiff,
18                                                   JOINT STATUS REPORT AND
     vs.
                                                     MOTION TO MODIFY PROPOSED
19                                                   SCHEDULING DATES
     Jeffrey Bardwell and Fanny F. Bardwell,
20   husband and wife,
21
                   Defendants.
22
            Plaintiff and Defendants, by and through undersigned counsel, hereby submit this
23
     status report to apprise the Court of events occurring since the prior status report filed in
24
     late April, 2020, and request the Court continue deadlines for the reasons stated herein for
25
     a period of not less than thirty (30) to forty-five (45) days. The dates set forth herein vary
26
     to some degree, but all equate to that range and are varied to account for holidays and
27
     other times where experts may not be readily available, for example, the October tax filing
28
     season. The requested enlargement is based upon current events, i.e., the resurgence of


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              Case 2:19-cv-00239-GMS Document 45 Filed 07/13/20 Page 2 of 6



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     the COVID-19 pandemic and related and unforeseen delays and scheduling difficulties
2
     outlined herein arising as a result.
3
            As an initial matter, Defendant Bardwell, who resides of California, recently
4
     contracted COVID. While he is now recovering, Mr. Bardwell was unavailable to consult
5
     with counsel for the past 2-3 weeks, while on long-term bedrest.
6

7            While Mr. Bardwell has been unavailable, the parties counsel has continued to
8    work through discovery issues here in an effort to resolve these matters without Court
9    involvement. In large part, the Parties have been successful throughout this case and
10   worked to resolve relatively complex privilege and discovery issues amongst themselves.
11   Those efforts are continuing, as explained below.
12
            Previously, Plaintiff’s counsel determined it would waive the accountant-client
13
     privilege as it relates to Plaintiff’s 2006 Gift Tax Return and related 2006 tax filings. In
14
     addition, both parties learned that Plaintiff had additional records that were in the care and
15
     custody of a third-party accounting firm. Due to the pandemic, Plaintiff’s counsel
16

17
     encountered some delays in accessing the file, reviewing the file, and disclosing pertinent

18
     materials to Defendants’ counsel. Production was made to Defendants’ counsel on an

19   “attorneys’ eyes only” basis (which included Defendants’ experts or consultants) at this

20   stage of the proceedings.

21
            Counsel also determined thereafter that there was an estate file outlining Plaintiff’s
22
     estate plans. Plaintiff continues to maintain that estate-planning documents are irrelevant.
23
     Defendants contend that the estate-planning documents are relevant to the extent that Mr.
24
     Bardwell is mentioned and to the extent that those files discuss life-time gifting activities.
25
     While Plaintiff continues to assert that the documents are irrelevant, Plaintiff’s counsel
26
     agreed to obtain the documents, including communications with Plaintiff’s estate-
27
     planning attorney, and review these documents in an effort to resolve this issue. The
28




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              Case 2:19-cv-00239-GMS Document 45 Filed 07/13/20 Page 3 of 6



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     parties worked cooperatively to avoid issuance of subpoenas, Plaintiff’s counsel obtained
2
     Plaintiff’s permission to obtain the file for internal review purposes.
3

4           The estate file was produced to Plaintiff’s counsel only recently and the review was

5    just completed. A privilege log was produced which the parties recognize requires further
6    discussion at this time. Plaintiff’s counsel and Defendant’s counsel are working diligently
7    to resolve issues prior to completing what the parties believe are the only two remaining
8    depositions.
9
            There are two depositions left to complete in this matter. Unfortunately, the
10
     remaining depositions involve older “at-risk’ persons. For a period of time the parties
11
     delayed scheduling these depositions in the hope that events would allow these depositions
12
     to take place in person. The parties now agree that video conference depositions will be
13
     necessary here. While the parties are working to schedule these depositions, the
14
     scheduling has been complicated by the fact that one of the non-party deponents is
15
     represented by attorneys at Dickinson Wright, which remains closed at this time due to
16

17
     the pandemic. The deponents counsel did recently advise they will be able to facilitate

18
     the deposition via video conferencing. And the parties will conduct that deposition via

19   video conferencing.

20          Finally, Defendants’ counsel previously advised the Court that they were planning
21
     a move to new offices after 25-years in the same location. The pandemic, however, created
22
     unforeseen delays and wholly unforeseen logistical issues related to counsels’ relocation
23
     of offices. Counsel already extended their lease, at an increased cost, to the full extent
24
     possible and are required to vacate their office space by July 31, 2020. Unfortunately, the
25
     new offices were only just capable of being occupied and electrical functionality (beyond
26
     lights and power) is not yet complete, i.e., internet, wi-fi, and other attendant networking
27
     services and equipment (routers, switches, etc.), not to mention unforeseen building
28
     restrictions only recently presented (due to COVID) impacting availability of movers,


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              Case 2:19-cv-00239-GMS Document 45 Filed 07/13/20 Page 4 of 6



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     testing, certificates of insurance, etc. In short, counsel will likely need the entire last week
2
     of July to devote solely to moving and vacating the current premises, disposing of files,
3
     disposing of furniture not being relocated, potentially resolving other unforeseen issues,
4
     and endeavoring to expedite technological completion of the space, or to make alternative
5
     arrangements in the interim.
6

7           As there remain some discovery issues the parties anticipate being able to resolve
8    prior to being able to complete the two remaining depositions, coupled with the
9    unavailability of Defendants’ counsel for at least 1 week in July and the fact that trial, due
10   to COVID and other matters will not likely occur in the near future, the parties agree and
11   respectfully request the Court continue the scheduling dates/deadlines for at least the time
12   requested, or longer if the Court deems it appropriate in light of its own scheduling and
13
     accessibility limitations as outlined in General Order 20-30. The parties assure the Court
14
     that they continue to work on this matter diligently and are not ignoring this case or
15
     otherwise seeking this continuance for purposes of delay.
16

17
            The parties propose the various deadline be continued to the following:

18
            1.     Setting the deadline for final supplementation of MIDP responses and the

19   completion of fact discovery, including discovery by subpoena, as August 21, 2020.

20          2.     Setting the deadline for Plaintiff to provide full and complete expert

21   disclosures as August 28.
22          3.     Setting the deadline for Defendants to provide full and complete expert
23   disclosures as September 25, 2020.
24          4.     Setting the deadline for rebuttal expert disclosures as October 23, 2020 (due
25   to tax season falling within October).
26
            5.     Setting the deadline for completing all expert depositions (potentially 4
27
     experts) as November 27, 2020.
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                Case 2:19-cv-00239-GMS Document 45 Filed 07/13/20 Page 5 of 6



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              6.     Defendants further request the Court extend the dispositive motion deadline
2
     to December 18, 20201 to maintain the overall timeline whereby all information can be
3
     considered, including expert depositions, if needed.
4

5             7.     The pre-motion conference letter submission and contact date be set as
6    November 13, 2020. On or before that date the parties shall exchange their respective
7    two-page letters regarding any anticipated dispositive motions, and the following week
8    the parties shall contact the Court to schedule a time for the pre-motion conference, if
9    needed.
10
     DATED this 13th day of July, 2020.
11

12
         KERCSMAR & FELTUS PLLC                     LAW OFFICE OF THOMAS J. MARLOWE
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14       By: s/Gregory B. Collins (with permission) By: s/Thomas J. Marlowe
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17          Scottsdale, Arizona 85251                   Attorney for Defendants
            Attorneys for Plaintiff
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     1
              The current dispositive motion deadline is November 13, 2020. (DE 44.)


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              Case 2:19-cv-00239-GMS Document 45 Filed 07/13/20 Page 6 of 6



1                                    CERTIFICATE OF SERVICE
2
             I, Thomas J. Marlowe, hereby certify that on July 13, 2020, I electronically
3
     transmitted the foregoing document to the Clerk’s Office using the ECF system for filing
4

5    and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in this
6
     case.
7
     By: s/ Thomas J. Marlowe
8

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